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     Attorneys for Plaintiff
 6   HEATHER M. STANGEL
                             IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF NEVADA
 8
                                                     )   Case No. 2:18-cv-01506-APG-CWH
     HEATHER M. STANGEL,                             )
 9
                                                     )
                           Plaintiff,                )
10                                                       NOTICE OF DISMISSAL WITH
                                                     )
     v.                                                  PREJUDICE
                                                     )
11
                                                     )
     EMG ACQUISITION COMPANY OF                      )
12   NEVADA, LLC D/B/A MINUTE LOANS,                 )
                           Defendant.                )
13

14          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), EMG ACQUISITION COMPANY OF

15   NEVADA, LLC D/B/A MINUTE LOANS, the Defendant, not having filed or served answers or

16
     motions for summary judgment; the Plaintiff in the above-entitled action, as to EMG

     ACQUISITION COMPANY OF NEVADA, LLC D/B/A MINUTE LOANS requests,
17
     authorizes, and directs the Clerk of the Court to enter a judgment of dismissal with prejudice,
18
     each party to bear its own attorney’s fees and costs.
19
            Dated:          December 11, 2018
20
                                           Respectfully submitted,
21
                                           By:     /s/David H. Krieger, Esq.
22                                                 David H. Krieger, Esq. (Nevada Bar No. 9086)
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